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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

)
UNITED STATES OF AMERICA )
)
V. ) Criminal Action No. 21-290 (RBW)
)
JEFFREY ALEXANDER SMITH, ) FI LED
)
Defendant. ) JAN 3 0 2023
) Clerk. u.S District & & Bai upt Icy
Courts for the District of ‘Co olur umbia
ORDER

In accordance with the oral rulings issued by the Court at the reentry progress hearing
held on January 30, 2023, via videoconference, it is hereby

ORDERED that, on April 3, 2023, at 12:00 p.m., the parties shall appear before the
Court for a reentry progress hearing via videoconference.

SO ORDERED this 30th day of January, 2023.

i hit B. WALTON
a States District Judge
